  Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 1 of 43




               IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF TEXAS
                       BROWNSVILLE DIVISION

                                       )
STATE OF TEXAS;                        )
                                       )
STATE OF ALABAMA;                      )
                                       )
STATE OF ARKANSAS;                     )
                                       )
STATE OF LOUISIANA;                    )
                                       )
STATE OF NEBRASKA;                     )
                                       )
STATE OF SOUTH CAROLINA;               )
                                       )
STATE OF WEST VIRGINIA;                )
                                       )
STATE OF KANSAS; and                   )
                                       )
STATE OF MISSISSIPPI,                  )
                                       )
                           Plaintiffs, )
                                       )
v.                                     )   Case No. 1:18-cv-00068
                                       )
UNITED STATES OF AMERICA, et al.,      )
                                       )
                         Defendants, )
                                       )
and                                    )
                                       )
KARLA PEREZ, et al.;                   )
                                       )
STATE OF NEW JERSEY,                   )
                                       )
               Defendant-Intervenors. )



                      SUPPLEMENTAL COMPLAINT
    Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 2 of 43




         1.   Plaintiffs adopt and incorporate by reference (as if fully stated herein)

the allegations and arguments set forth in their First Amended Complaint, ECF 104.

                                  INTRODUCTION

         2.   On August 30, 2022, the Biden Administration promulgated—pursuant

to notice-and-comment rulemaking—a final rule (“Final Rule”) that adopted, with

immaterial changes, the Deferred Action for Childhood Arrivals (“DACA”) policies

from the 2012 memorandum issued by then-Secretary of the Department of

Homeland      Security   Janet    Napolitano   (the   “DACA     Memorandum”).      See

AR2022_100195, Deferred Action for Childhood Arrivals, 87 Fed. Reg. 53,152 (Aug.

30, 2022) (to be codified at 8 C.F.R. pts 106, 236, and 274a). The Final Rule went into

effect on October 31, 2022. Id.

         3.   However, the Final Rule suffers the same flaws as the DACA

Memorandum found unlawful by this Court and the U.S. Court of Appeals for the

Fifth Circuit.

         4.   The Fifth Circuit has already upheld this Court’s vacatur and

permanent injunction against implementation of the DACA Memorandum as

violative of the procedural and substantive requirements of the Administrative

Procedure Act (“APA”). Texas v. United States (DACA), 50 F.4th 498, 508 (5th Cir.

2022).

         5.   Regarding the substantive requirements specifically, after assuming

that Chevron deference applied, the Fifth Circuit held that DACA failed the first step

of Chevron because it contravened Congress’s rigorous and comprehensive statutory

                                           2
    Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 3 of 43




schemes for classification, removal, allocation of lawful presence, and allocation of

work authorization. Id. at 526 (citing Chevron, U.S.A., Inc. v. Nat. Res. Def. Council,

Inc., 467 U.S. 837 (1984)). The Fifth Circuit also held that the DACA Memorandum

failed the second step of Chevron because it was not an “exercise of [DHS’s] inherent

prosecutorial discretion,” was “an unreasonable interpretation of the [Immigration

and Nationality Act, or ‘INA’],” and had no “clear congressional authorization.” See

id. at 526–27.

      6.     Before the Fifth Circuit issued its opinion and after it heard oral

argument, DHS promulgated the Final Rule and then asked that court to review the

substantive challenges to it on the ground that none of the changes in the Final Rule

were material. See id. at 511–12.

      7.     The Fifth Circuit declined, however, to address the validity of the Final

Rule on the ground that it did not have an adequate administrative record and could

not definitively determine whether “material differences” existed between the Final

Rule and the DACA Memorandum. See id. at 512. As a result, the Fifth Circuit

remanded to this Court for further proceedings regarding the Final Rule. Id.

      8.     The Final Rule is materially and effectively the same as the policies in

the DACA Memorandum held unlawful by the Fifth Circuit. It adopts the same

provisions held unlawful in DACA.

      9.     In a press release accompanying the issuance of the Final Rule, DHS

stated that “[t]he rule continues the DACA policy as announced in the 2012




                                          3
      Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 4 of 43




Napolitano Memorandum and is based on longstanding USCIS practice,” 1 and

explained that the Final Rule “defer[s] [DACA recipients’] removal” and:

              •   Maintains the existing threshold criteria for DACA;

              •   Retains the existing process for DACA requestors to seek work
                  authorization; and

              •   Affirms the longstanding policy that DACA is not a form of lawful
                  status but that DACA recipients, like other deferred action
                  recipients, are considered ‘lawfully present’ for certain purposes.

Id.


        10.       Defendants    have   acknowledged      that    “the   DACA       regulations

promulgated by the final rule are materially indistinguishable” from the DACA

Memorandum, that “the final rule and 2012 memorandum are indistinguishable for

purposes of plaintiffs’ substantive lawfulness claims,” and that “the parties’

substantive arguments (albeit not plaintiffs’ notice-and-comment arguments) are

equally applicable to both” the Final Rule and the DACA Memorandum.

Supplemental Brief for Federal Appellants, DACA, No.21-40680 (5th Cir.), 2022 WL

4080252, *2–3, 4.

        11.       In their Rule 28(j) letter notifying the Fifth Circuit of the Final Rule,

Defendants further admitted that it did not “materially change” the program

implemented by the DACA Memorandum and that “the [Final] [R]ule preserves the

basic features of DACA that plaintiffs contend—and the district court has already




        1Press Release, DHS, DHS Issues Regulation to Preserve and Fortify DACA (Aug. 24, 2022),
https://www.dhs.gov/news/2022/08/24/dhs-issues-regulation-preserve-and-fortify-daca.

                                               4
    Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 5 of 43




held—exceed DHS’s statutory authority.” 08/24/2022 Appellants’ Rule 28(j) Letter 1–

2, Doc. 00516446276, DACA, No.21-40680 (5th Cir.) (emphasis added).

       12.    Indeed, Defendants conceded in the Fifth Circuit that because this Court

had already vacated the DACA Memorandum on substantive grounds, “the outcome

in the district court [regarding the validity of the final rule] is certain” due to the lack

of any material differences between the two agency actions. Supplemental Brief for

Federal Appellants, DACA, No.21-40680 (5th Cir.), 2022 WL 4080252, *11

(alterations in original, emphasis added).

       13.    Although this Court’s injunction currently in place applies to the Final

Rule, see ECF 603, that order only prevents Defendants from granting DACA status

to new applicants—DHS may approve renewal applications for those renewing their

status obtained before the July 16, 2021, permanent injunction. Id.

       14.    Plaintiffs, however, are entitled to full relief against the implementation

of the unlawful Final Rule—it should be vacated, declared unlawful and

unconstitutional, and its implementation permanently and completely enjoined.

Defendants should be prevented from issuing or renewing any DACA permits.

                              PROCEDURAL HISTORY

       15.    On May 5, 2018, after years of litigation surrounding the DACA

Memorandum, Plaintiffs brought this suit against Defendants to challenge the

Executive’s authority to promulgate and implement the program in the first place.

See ECF 1, Original Complaint.




                                             5
    Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 6 of 43




      16.    After numerous intervenors joined as co-Defendants, Plaintiffs

requested a preliminary injunction, seeking to enjoin the implementation of the

DACA Memorandum. See ECF 5, Plaintiffs’ Motion for Preliminary Injunction. But

this Court declined Plaintiffs’ request for a preliminary injunction because of the

delay in challenging the DACA Memorandum and its determination that the

interests of the Defendant-Intervenors and the public outweighed the interests of

Plaintiffs. See Texas v. United States, 328 F. Supp.3d 662, 743 (S.D. Tex. 2018).

Nevertheless, this Court determined that Plaintiffs would likely succeed on the

merits of their claims. See id. at 709–36.

      17.    Subsequently, there was a change in presidential administrations, and

the Trump Administration determined that the DACA Memorandum was unlawful,

rescinding it. But the Supreme Court held that DHS’s attempt to rescind DACA itself

violated the APA because it constituted arbitrary-and-capricious decisionmaking.

DHS v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1901, 1915 (2020).

      18.    After the Supreme Court’s decision, Plaintiffs and the Defendant-

Intervenors filed cross-motions for summary judgment, and this Court granted

partial summary judgment in Plaintiffs’ favor. See Texas v. United States, 549 F.

Supp. 3d 572, 624 (S.D. Tex. 2021). This Court found the DACA Memorandum

procedurally unlawful for failing to undergo notice-and-comment rulemaking, id. at

603, and substantively unlawful for exceeding the bounds of statutory immigration

provisions. Id. at 621.




                                             6
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 7 of 43




      19.    This Court determined that “DHS violated the APA with the creation of

DACA and its continued operation,” so it vacated the DACA Memorandum and

remanded the proceedings to DHS. Id. at 624. This Court recognized, however, that

“hundreds of thousands of DACA recipients and others … have relied upon this

program for almost a decade.” Id. As a result, it temporarily stayed its immediate

order of vacatur and allowed DHS to accept new DACA applications and renewal

DACA applications. Id. Nonetheless, it enjoined DHS from approving any new DACA

applications and granting the attendant status. Id.

      20.    Defendants appealed this Court’s judgment to the Fifth Circuit. See

DACA, 50 F.4th at 511.

      21.    Meanwhile, in response to the remand to the agency that this Court

issued in its summary judgment order, DHS issued a notice of proposed rulemaking

on September 28, 2021, that would “preserve and fortify DHS’s DACA policy.”

AR2022_100001, Deferred Action for Childhood Arrivals, 86 Fed. Reg. 53,736, 53,773

(proposed Sept. 28, 2021).

      22.    Then, on August 30, 2022, after the Fifth Circuit had already heard oral

arguments in DACA, DHS promulgated the Final Rule and asked the Fifth Circuit to

review the substance of that action on the ground that none of the changes in it was

material. See DACA, 50 F.4th at 511–12.

      23.    But the Fifth Circuit refused to address the Final Rule on appeal,

remanding to this Court on the ground that it did not have an adequate




                                          7
    Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 8 of 43




administrative record and could not determine whether “material differences” existed

between the Final Rule and the DACA Memorandum. DACA, 50 F.4th at 512.

      24.    Nonetheless, the Fifth Circuit affirmed the portion of this Court’s

judgment that vacated the DACA Memorandum as violating the procedural

requirements of the APA because it was a substantive rule that was required to

undergo notice-and-comment rulemaking. Id. at 522–24.

      25.    The Fifth Circuit also affirmed this Court’s judgment that the DACA

Memorandum violated the substantive requirements of the APA. Specifically, after

assuming that the two-part Chevron framework applied, the Fifth Circuit held that

the DACA Memorandum failed the first step of Chevron because it contravened

Congress’s rigorous and comprehensive statutory schemes for classification, removal,

allocation of lawful presence, and allocation of work authorization. Id. at 525–26.

      26.    The Fifth Circuit also held that the DACA Memorandum failed the

second step of Chevron because it was not an “exercise of [DHS’s] inherent

prosecutorial discretion,” was “an unreasonable interpretation of the INA,” and had

no “clear congressional authorization.” See id. at 526–27.

      27.    Importantly, though, the Final Rule is materially and effectively the

same as the DACA Memorandum. Indeed, the Final Rule adopts several of the

provisions held unlawful by this Court and the Fifth Circuit: it maintains the existing

threshold eligibility criteria from the DACA Memorandum for forbearance from

removal, retains the existing process for DACA requestors to seek work




                                          8
    Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 9 of 43




authorization, and affirms that DACA recipients are considered lawfully present in

the United States. 2

       28.    The Final Rule creates a new 8 C.F.R. §236.21, captioned “Applicability,”

which promulgates several subsections. AR2022_100340–41, 87 Fed. Reg. 53,297–98.

       29.    Sections 236(a) and (b) explain that this provision applies to requests for

deferred action under the DACA policy only, and that the provisions of 8 C.F.R part

103 do not apply unless specifically provided for. AR2022_100340–41, 87 Fed. Reg.

53,297–98.

       30.    Section 236(c)(1) defines “[d]eferred action” as an exercise “of discretion

not to pursue the removal of certain aliens for a limited period” undertaken for

various reasons, and a “temporary forbearance from removal.” AR2022_100341, 87

Fed. Reg. 53,298.

       31.    Section 236(c)(2) provides that “[d]uring this period of forbearance, on

the basis of this subpart only, USCIS may grant employment authorization pursuant

to 8 CFR 274a.13 and 274a.12(c)(33) to DACA recipients who have demonstrated an

economic need.” AR AR2022_100341, 87 Fed. Reg. 53,298.

       32.    Section 236(c)(3) provides that “[d]uring this period of forbearance, on

the basis of this subpart only, a DACA recipient is considered ‘lawfully present’ under

the provisions of 8 CFR 1.3(a)(4)(vi).” AR2022_100341, 87 Fed. Reg. 53,298.

       33.    Section 236(c)(4) provides that “[d]uring this period of forbearance, on

the basis of this subpart only, a DACA recipient is not considered ‘unlawfully present’


       2 Press Release, DHS, DHS Issues Regulation to Preserve and Fortify DACA (Aug. 24, 2022),
https://www.dhs.gov/news/2022/08/24/dhs-issues-regulation-preserve-and-fortify-daca.

                                               9
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 10 of 43




for the purpose of inadmissibility under section 212(a)(9) of the [INA].”

AR2022_100341, 87 Fed. Reg. 53,298.

      34.    Section 236(d) provides that:

      This subpart rescinds and replaces the DACA guidance set forth in the
      Memorandum issued by the Secretary of Homeland Security on June 15,
      2012. All current grants of deferred action and any ancillary features
      previously issued pursuant to the Memorandum remain in effect and
      will expire according to their existing terms. All such current grants of
      deferred action and any ancillary features, as well as any requests for
      renewals of those grants and new requests, are hereafter governed by
      this subpart and not the Memorandum.

AR2022_100341, 87 Fed. Reg. 53,298.

      35.    The Final Rule creates a new 8 C.F.R. § 236.22, captioned “Discretionary

determination,” which sets for the same eligibility criteria as the DACA

Memorandum. AR2022_100341–42, 87 Fed. Reg. 53,298–99.

      36.    The Final Rule creates a new 8 C.F.R. § 236.23, captioned “Procedures

for requests, terminations, and restrictions on information use,” which sets forth the

mechanics of applying for (and termination of) DACA status, as well as restrictions

on use of information obtained from applicants for immigration enforcement.

AR2022_100342, 87 Fed. Reg. 53,299.




                                         10
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 11 of 43




      37.    The Final Rule also contains express severability provisions. The new 8

C.F.R. § 236.24, captioned “Severability,” provides:

      (a) Any provision of this subpart held to be invalid or unenforceable as
      applied to any person or circumstance shall be construed so as to
      continue to give the maximum effect to the provision permitted by law,
      including as applied to persons not similarly situated or to dissimilar
      circumstances, unless such holding is that the provision of this subpart
      is invalid and unenforceable in all circumstances, in which event the
      provision shall be severable from the remainder of this subpart and shall
      not affect the remainder thereof.

      (b) The provisions in § 236.21(c)(2) through (4) [concerning employment
      authorization, eligibility for Social Security benefits, and inadmissibility
      under 8 U.S.C. § 1182(a)(9), respectively] and § 274a.12(c)(14) and
      274a.12(c)(33) [concerning employment authorization] are intended to
      be severable from one another, from this subpart and any grant of
      forbearance from removal resulting from this subpart, and from any
      provision referenced in those paragraphs, including such referenced
      provision’s application to persons with deferred action generally.

AR2022_100342–43, 87 Fed. Reg. at 53,299–300.

      38.    The Final Rule creates a new 8 C.F.R. § 236.25, captioned “No private

rights,” a boilerplate provision that the Final Rule

      (a) Is not intended to and does not supplant or limit otherwise lawful
      activities of the Department or the Secretary; and

      (b) Is not intended to and does not create any rights, substantive or
      procedural, enforceable at law by any party in any matter, civil or
      criminal.

AR2022_100343, 87 Fed. Reg. at 53,300.




                                          11
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 12 of 43




       39.    Finally, the Final Rule amends 8 C.F.R. 274a.12, captioned “Classes of

aliens authorized to accept employment,” to read:

       (c) * * *
       (14) Except as provided for in paragraph (c)(33) of this section, an alien
       who has been granted deferred action, an act of administrative
       convenience to the government that gives some cases lower priority, if
       the alien establishes an economic necessity for employment.

       *****

       (33) An alien who has been granted deferred action pursuant to 8 CFR
       236.21 through 236.23, Deferred Action for Childhood Arrivals, if the
       alien establishes an economic necessity for employment.

       *****

AR2022_100343, 87 Fed. Reg. at 53,300.

                            JURISDICTION AND VENUE

       40.    The Court has federal-question jurisdiction under 28 U.S.C. § 1331

because this action arises under the U.S. Constitution, art. III, § 3, and the APA, 5

U.S.C. §§ 702–06. The Court also has jurisdiction under 28 U.S.C. § 1346(a)(2)

because this is a civil action or claim against the United States. Finally, the Court

has jurisdiction to compel an officer or employee of the above-named federal agencies

to perform his duty under 28 U.S.C. § 1361.

       41.    Venue is proper in this District under 28 U.S.C. § 1391(e) because the

State of Texas is a resident of this judicial district, and a substantial part of the events

or omissions giving rise to Plaintiffs’ claims occurred in this District.




                                            12
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 13 of 43




        42.    This Court is authorized to award the requested declaratory, injunctive

and vacation relief under the Declaratory Judgment Act, 28 U.S.C. §§ 2201–2202, the

APA, 5 U.S.C. §§ 703, 706, and 28 U.S.C. § 1361.

                                        THE PARTIES

        43.    Plaintiffs are the States of Texas, Alabama, Arkansas, Louisiana,

Nebraska, South Carolina, West Virginia, Kansas, and Mississippi.

        44.    Defendant the United States of America is sued under the APA. See 5

U.S.C. § 703 (“[T]he action for judicial review may be brought against the United

States.”).

        45.    Defendant Alejandro Mayorkas is the Secretary of the U.S. Department

of Homeland Security (“DHS”). 3 Defendant Mayorkas and DHS are responsible for

U.S. Citizenship and Immigration Services (“USCIS”), U.S. Customs and Border

Protection (“CBP”), and U.S. Immigration and Customs Enforcement (“ICE”).

Defendant Mayorkas also is responsible for the continued administration of the Final

Rule.

        46.    Defendant Troy A. Miller is the Acting Commissioner of CBP. 4

Defendant Miller shares responsibility for the administration of the Final Rule.




        3On February 2, 2021, Alejandro Mayorkas, Secretary of DHS, was automatically substituted
as a party in this proceeding in place of former Secretary Kirsten M. Nielsen. Fed. R. Civ. P. 25(d).

        4On November 12, 2022, Troy A. Miller, Acting Commissioner of CBP, was automatically
substituted as a party in this proceeding in place of former Commissioner Kevin K. McAleenan, former
Acting Commissioners John P. Sanders, Mark A. Morgan, and (during a previous stint) Troy A. Miller,
and former Commissioner Chris Magnus. Fed. R. Civ. P. 25(d).


                                                 13
    Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 14 of 43




       47.     Defendant Tae D. Johnson is the Director for ICE. 5 ICE administers a

formal program for allowing unlawfully present aliens to apply for deferred action

and to appeal for reconsideration if deferred action is denied.

       48.     Defendant Ur M. Jaddou is the Director of USCIS. 6 Defendant Jaddou

and USCIS administer the DACA program pursuant to the Final Rule. USCIS is the

principal agency responsible for the continued administration of the Final Rule.

       49.     Defendant Raul L. Ortiz is the Chief of the U.S. Border Patrol. 7

Defendant Ortiz and the U.S. Border Patrol are responsible for enforcing immigration

laws and the detection, interdiction, and apprehension of those who attempt to

illegally enter or smuggle people or contraband across U.S. borders between official

ports of entry.

                                   LEGAL BACKGROUND

   A. The Final Rule is Unlawful Because It Violates Congressional
      Statutes.

       50.     The APA requires this Court to hold unlawful and set aside any agency

action that is “(A) arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law; (B) contrary to constitutional right, power, privilege, or




       5 On January 13, 2021, Tae D. Johnson, Director of ICE, was automatically substituted as a
party in this proceeding in place of former Acting Director Jonathan Fahey, former Acting Director
Tony Pham, former Acting Director Matthew Albence, former Acting Director Ronald Vitiello, and
former Deputy Director and Acting Director Thomas D. Homan. Fed. R. Civ. P. 25(d).

       6  On August 3, 2021, Ur M. Jaddou, Director of the USCIS, was automatically substituted as
a party in this proceeding in place of former Director L. Francis Cissna. Fed. R. Civ. P. 25(d).

       7 On August 15, 2021, Raul L. Ortiz, Chief of the U.S. Border Patrol, was automatically
substituted as a party in this proceeding in place of former Chief Rodney Scott and former Chief Carla
L. Provost. Fed. R. Civ. P. 25(d).

                                                 14
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 15 of 43




immunity; [or] (C) in excess of statutory jurisdiction, authority, or limitations, or

short of statutory right.” 5 U.S.C. § 706(2).

      51.       Congress created “an intricate statutory scheme for determining which

classes of aliens may receive lawful presence, discretionary relief from removal,

deferred action, and work authorization.” DACA, 50 F.4th at 525 (footnotes omitted).

      52.       The Final Rule is contrary to law because it is “foreclosed by Congress’s

careful plan” and is “manifestly contrary to the statute.” DACA, 50 F.4th at 524–28.

“Congress’s clear articulation of laws for removal, lawful presence, and work

authorization illustrates a manifest intent to reserve for itself the authority to

determine the framework of the [N]ation’s immigration system.” Id. at 511 (quoting

Texas, 549 F. Supp. 3d at 614).

      53.       Congress provided for specifically defined classes of aliens to be eligible

for deferred action and discretionary relief from removal. DACA, 50 F.4th at 525–26

& nn.196–97.

      54.       In addition, Congress enacted immigration classifications for lawful

presence and unlawful presence. DACA, 50 F.4th. at 525–26 & n.195.

      55.       As part of Congress’s statutory scheme, the classification of lawful

presence is a necessary prerequisite for aliens to be eligible for several benefits,

including Social Security, 8 Medicare, 9 retirement benefits under the Personal




      8   See 8 U.S.C. § 1611(b)(2).

      9   See id. § 1611(b)(3).


                                             15
    Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 16 of 43




Responsibility and Work Opportunity Reconciliation Act of 1996 (“PRWORA”), 10 and

the Earned Income Tax Credit. 11 See Texas, 549 F. Supp. 3d at 578 & n.9.

        56.        Conversely, the classification of unlawful presence makes time spent in

the country count towards a reentry ban under the Illegal Immigration Reform and

Immigrant Responsibility Act of 1996 (“IIRIRA”), subject to statutory exception. 12

        57.        Congress also provided for work authorization for specific categories of

illegal aliens. DACA, 50 F.4th at 525–26 & n.198.

        58.        Despite this carefully crafted, intricate, and extensive statutory scheme,

Congress never gave the Executive Branch carte blanche to sidestep these statutes

and create new classes of aliens eligible for deferred action protecting them from

removal.

        59.        Nor did Congress permit unlawfully present aliens to be lawfully

present, much less allow such unlawfully present aliens to obtain attendant benefits

and work authorization simply because the Executive chooses not to remove them.

But that is what the Executive accomplished through the DACA Memorandum and

continues with the Final Rule.




        10   See id. § 1611(b)(3).

        11See 26 U.S.C. § 32(c)(1)(A), (c)(1)(E), (m) (eligibility based on an individual having a valid
Social Security number).

        12See 8 U.S.C. § 1182(a)(9)(B)(i) (3-year reentry ban for aliens “unlawfully present in the
United States for a period of more than 180 days but less than 1 year”; 10-year reentry ban for aliens
“unlawfully present in the United States for one year or more”).

                                                  16
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 17 of 43




      60.    And it did not stop there. On top of the new class of eligible aliens, the

Final Rule further provides some DACA recipients with United States citizenship or

a pathway to citizenship without any statutory authorization to do so from Congress.

      61.    “Advance parole is a privilege that allows aliens to leave the United

States and then lawfully re-enter the country without being turned away at a port of

entry.” Texas, 549 F. Supp. 3d at 612 (citations omitted). “It is designed to be awarded

only ‘on a case-by-case basis for urgent humanitarian reasons or significant public

benefit.’” Id. (quoting 8 U.S.C. § 1182(d)(5)(A)).

      62.    “DACA, however, made the entire DACA population eligible to apply for

advance parole, and expanded these two enumerated categories beyond their

intended scope,” id., and “enable[d] certain individuals to change their inadmissible

status (due to unlawful entry) into an admitted/paroled category and in some cases

then provides a clearer pathway to citizenship.” Id. at 614.

      63.    Advance parole granted to DACA recipients has also led to the

subversion of the “unlawful presence bars” instituted by statute. Id. (citing 8 U.S.C.

§ 1182(a)(9)(B)(i)). “[T]hose illegally present for more than a year must remain out

for ten years before they may again become admissible to the United States.” Id. “All

of the DACA recipients have been in the country illegally for more than one year, so

the ten-year bar would apply.” Id. “DACA’s grant of advance parole eligibility,

however, allows DACA recipients to travel abroad and then return to the United

States without complying with” the ten-year bar imposed by Congress. Id.




                                           17
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 18 of 43




      64.    The Final Rule continues this abuse of advance parole that was

implemented pursuant to the DACA Memorandum.

      65.    The Final Rule “further incorporates here its points in the preamble to

the [Notice of Proposed Rulemaking] at 86 FR 53756–53762 regarding DHS’s view

that employment authorization, advance parole, and lawful presence may be provided

in conjunction with DACA’s forbearance of removal.” AR2022_100237, 87 Fed. Reg.

53,194.

      66.    That incorporated language from the Notice of Proposed Rulemaking

expressly disagrees with this Court’s conclusions regarding advance parole:

      The access of DACA recipients to ‘‘advance parole’’ under 8 CFR 212.5(f)
      raises questions of both law and policy that were discussed by the Texas
      II district court in its July 16, 2021 memorandum and order. DHS
      emphasizes that the same statutory standard, ‘‘for urgent humanitarian
      reasons or significant public benefit,’’ applies to all noncitizens,
      including DACA recipients, and that this statutory standard does not
      depend on whether an individual is a DACA recipient. DHS reiterates
      that under the proposed rule, it would continue its adherence to that
      standard.

AR2022_100027, 86 Fed. Reg. 53,762 (emphasis added).

      67.    Additional language from that incorporated into the Final Rule sets

forth Defendants’ rationale for allowing illegal aliens accelerated access to citizenship

or other lawful status through advance parole:

      [T]he INA lays out a comprehensive scheme for eligibility for adjustment
      of status to that of a lawful permanent resident. There are several
      relevant statutory provisions and requirements, including those laid out
      at 8 U.S.C. 1255(a), which requires, among other things, that applicants
      for adjustment of status be eligible for an immigrant visa and be
      admissible under 8 U.S.C. 1182, and that applicants were ‘‘inspected
      and admitted or paroled’’ into the United States. The parole authority
      at 8 U.S.C. 1182(d)(5), when read together with the adjustment of status

                                           18
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 19 of 43




      provisions at 8 U.S.C. 1255(a), creates a statutory pathway to
      adjustment of status for individuals who meet all the other adjustment
      criteria, including eligibility for an immigrant visa, but entered without
      inspection.

      Congress clearly intended that parole be available to a subset of
      noncitizens, and that such parole would affect eligibility for adjustment
      of status in these limited ways. These effects of parole are entirely
      separate from DACA, and do not depend on any executive actions not
      explicitly authorized by statute. So long as DHS acts within the limits
      on its parole authority in 8 U.S.C. 1182(d)(5), which as discussed above
      DHS believes the DACA-based advance parole guidance does, there is
      no conflict with Congress’ expressed intent for eligibility for adjustment
      of status.

AR2022_100027–28, 86 Fed. Reg. 53,762–63 (footnote omitted).

      68.    Defendants have made clear that the Final Rule authorizes advance

parole in a manner found unlawful by this Court.

      69.    As the Fifth Circuit concluded:

      Congress’s rigorous classification scheme forecloses the contrary scheme
      in the DACA Memorandum. “Entirely absent from those specific classes”
      Congress defined is the group of 1.7 million aliens “who would be eligible
      for lawful presence” under DACA. DACA creates a new class of
      otherwise removable aliens who may obtain lawful presence, work
      authorization, and associated benefits. Congress determined which
      aliens can receive these benefits, and it did not include DACA recipients
      among them. We agree with the district court’s reasoning and its
      conclusions that the DACA Memorandum contravenes comprehensive
      statutory schemes for removal, allocation of lawful presence, and
      allocation of work authorization.

DACA, 50 F.4th at 526 (citations omitted).

      70.    The same is true for the Final Rule, as it provides for deferred action,

forbearance from removal, work authorization, and lawful presence exceeding

statutory authority.




                                         19
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 20 of 43




      71.    And while the Defendants assert that the Final Rule is “an exercise of

its inherent prosecutorial discretion,” DACA, 50 F.4th at 526, the Final Rule

“undoubtedly implicates questions of deep economic and political significance that

are central to this statutory scheme; had Congress wished to assign that decision to

an agency, it surely would have done so expressly.’” Id. (cleaned up; citation omitted).

      72.    As a result, “Congress’s rigorous classification scheme forecloses the

contrary scheme” under the Final Rule, and the Final Rule thus “contravenes [the]

comprehensive statutory schemes for removal, allocation of lawful presence, and

allocation of work authorization.” DACA, 50 F.4th at 526.

      73.    Therefore, the Final Rule violates the substantive requirements of the

APA because it adopted and implemented the same provisions held unlawful under

DACA. See id. at 524–28.

   B. The Final Rule Violates the Take Care Clause.

      74.    Through its adoption of the policies of the DACA Memorandum, the

Final Rule dispenses with certain immigration statutes by declaring as lawful

conduct that Congress established as unlawful, thereby violating the Take Care

Clause.

      75.    Moreover, the Final Rule further violates the Take Care Clause because

it dispenses with certain immigration statutes by granting United States citizenship

or a pathway to citizenship to aliens who would otherwise be unlawfully present but

for the Final Rule.

      76.    The Take Care Clause has its roots in the dispute between Parliament

and King James II, who was overthrown in the Glorious Revolution of 1688.
                                          20
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 21 of 43




Parliament was infuriated at King James’s use of his purported power to suspend or

dispense with Parliament’s laws. Zachary Price, Enforcement Discretion and

Executive Duty, 67 Vand. L. Rev. 671, 676, 690–91 (2014). As a result, the subsequent

monarchs, William and Mary, agreed to the English Bill of Rights, which stripped the

monarchy of all suspending and dispensing authority. See English Bill of Rights of

1689, art. 1.

       77.      In light of this historical background, the Framers of the U.S.

Constitution unanimously rejected a proposal to grant dispensing powers to the

President.

       78.      Indeed, the Fifth Circuit recently had occasion to examine the

Executive's inability to dispense with the laws. See Texas v. Biden (MPP), 20 F.4th

928, 978-82 (5th Cir. 2021), reversed on other grounds, 142 S. Ct. 2528 (2022). In

short, “[t]he Framers agreed that the executive should have neither suspending nor

dispensing powers.” Id. at 980.

       79.      The Supreme Court has held likewise. Kendall v. United States ex rel.

Stokes, 37 U.S. 524 (1838). “To contend that the obligation imposed on the President

to see the laws faithfully executed, implies a power to forbid their execution, is a novel

construction of the [C]onstitution, and entirely inadmissible.” Id. at 613. Any other

conclusion would “vest[] in the President a dispensing power.” Id.

       80.      In this case, the Final Rule dispenses with certain immigration statutes.

Just as King James attempted to make unlawful office-holding lawful, Price, supra,

at 691, the Executive sought to make unlawful presence lawful through the



                                            21
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 22 of 43




promulgation and implementation of DACA under the Final Rule. And the use of

advance parole to affirmatively confer United States citizenship or a pathway to

citizenship on DACA recipients compounds the problem.

      81.    Thus, Justice Scalia properly noted that DACA is a program that

involves “biennial requests for dispensation” from immigration statutes. Arizona v.

United States, 567 U.S. 387, 435 (2012) (Scalia, J., concurring in part and dissenting

in part) (emphasis added).

      82.    Rewriting the laws to match the Executive’s policy is precisely what the

Final Rule does when it adopts the unlawful provisions under DACA. The Final Rule

thus contravenes the law and the Constitution.

      83.    Thus, the Final Rule is a programmatic decision to confer benefits on

hundreds of thousands of aliens.

      84.    Here, the Final Rule is “incompatible with the express or implied will of

Congress.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 637 (1952)

(Jackson, J., concurring).

      85.    As did the DACA Memorandum, the Final Rule violates explicit and

implicit congressional objectives.

      86.    But the Final Rule is an “abdication” of immigration statutes that

specify in careful detail which aliens may be lawfully present, may obtain work

authorization, and may obtain United States citizenship or a pathway to citizenship.

See Texas v. United States, 86 F. Supp. 3d 591, 663 (S.D. Tex. 2015) (describing DAPA

and Enhanced DACA).



                                         22
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 23 of 43




      87.    Accordingly, the Final Rule violates the Take Care Clause because it

dispenses with certain immigration statutes.

   C. The Final Rule is Arbitrary and Capricious Agency Action.

      88.    The APA prohibits agency actions that are “arbitrary, capricious, an

abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).

      89.    The Final Rule does not represent reasoned decisionmaking.

      90.    The Final Rule repeatedly treats illegal aliens being participants in the

U.S. workforce as a positive. See, e.g., AR2022_100207, 87 Fed. Reg. 53,164 (“DHS …

agrees … that DACA has a positive impact on recipients’ ability to pursue

employment”); AR2022_100210, 87 Fed. Reg. 53,167 (“The net effect on employment

of citizens is difficult to specify and might turn out to be positive. DHS believes that

these investments that DACA recipients have made in their communities and in the

country as a whole are substantial.”); id. (“the hiring of DACA workers might

contribute to expansion in business activity and potentially in increased hiring of

American workers”); AR2022_100213, 87 Fed. Reg. 53,170 (“DHS agrees members of

the DACA population carry substantial spending power, generate billions in tax

revenue, and fill vital roles across a broad array of industries.”).

      91.    But Congress has enacted a “comprehensive framework for combating

the employment of illegal aliens” and “forcefully made combating the employment of

illegal aliens central to the policy of immigration law.” Arizona v. United States, 567

U.S. 387, 404 (2012) (cleaned up). And “as Congress [has] explained, ‘[a]liens who

enter or remain in the United States in violation of our law are effectively taking



                                           23
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 24 of 43




immigration opportunities that might otherwise be extended to others.’” Demore v.

Kim, 538 U.S. 510, 518 (2003) (quoting S.Rep. No. 104–249, p. 7 (1996)). Indeed, “a

primary purpose in restricting immigration is to preserve jobs for American workers.”

INS v. Natl. Ctr. for Immigrants’ Rights, 502 U.S. 183, 194 (1991).

      92.    The Final Rule flips Congress’s priorities, instead prioritizing the

interests of illegal alien labor and the businesses that employ them:

      DHS agrees that employers, including businesses and educational
      institutions, have relied upon the existence of the DACA policy over the
      course of 10 years and that restricting DACA to currently active
      recipients or ending the DACA policy altogether would harm the
      reliance interests identified by these commenters, including their
      reliance interests in the labor and spending contributions of DACA
      recipients. For those employers that hire DACA recipients with highly
      specialized skills and higher levels of education, if the DACA policy were
      to end, some of these employers could face challenges and higher costs
      in finding replacement labor for these highly specialized workers,
      assuming all else remains constant.

AR2022_100218, 87 Fed. Reg. 53,175.
      93.    In litigation over DACA, this Court has twice examined the laws

prohibiting the employment of illegal aliens and specific statutory exceptions to that

general feature of immigration law. See Texas, 328 F. Supp. 3d at 716–18; Texas, 549

F. Supp. 3d at 610–12. Where Congress has permitted employment authorization, it

has done so for limited categories of illegal aliens who—unlike the DACA recipients—

have been deemed non-removable for various reasons set forth by statute. See Texas,

549 F. Supp. 3d at 610 & nn.48–49 (citing statutory provisions for various categories,

including human-trafficking victims and asylum applicants). The Final Rule never

addresses the existence of these specific provisions and how the employment



                                         24
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 25 of 43




authorization for DACA recipients can nonetheless be justified, despite this Court’s

previous rulings on this issue.

      94.    This Court has also explained how the Affordable Care Act’s minimum

essential coverage requirement, 26 U.S.C. § 4980h, “exacerbates this problem.” Texas,

549 F. Supp. 3d at 587. While “[a]n employer who offers coverage that does not

provide minimum essential coverage will face a penalty if any of its employees

purchases coverage on the insurance exchange and receives a premium subsidy,”

employers “may offer to DACA-recipient employees coverage that does not provide

minimum essential coverage without risking a penalty.” Id. The Final Rule never

addresses how “[t]his facet of the ACA can make DACA recipients less costly to

employ for some employers, thereby incentivizing employers to hire DACA recipients

over similarly qualified legal Texas residents.” Id.; see also id. at 612.

      95.    The Final Rule disregards both Congress’s determinations that

employment of illegal aliens harms American workers and the negative incentives to

hire American workers created by the Affordable Care Act. Instead, the Final Rule

adopts a cost-benefit analysis that relies on potential downstream effects that could

help some American workers despite harms to those directly competing with DACA

recipients. See AR2022_100210, 87 Fed. Reg. 53,167.

      96.    The articulated reasons for the Final Rule fail to consider Congress’s

framework, “undermining Congress’s stated goal of closely guarding access to work

authorization and preserving jobs for those lawfully in the country.” Texas v. United

States (DAPA), 809 F.3d 134, 181 (5th Cir. 2015). “[B]ecause agency action must be



                                           25
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 26 of 43




based on non-arbitrary, relevant factors, the agency’s approach must be tied, even if

loosely, to the purposes of the immigration laws or the appropriate operation of the

immigration system.” Judulang v. Holder, 565 U.S. 42, 55 (2011) (cleaned up). The

rationale for agency action reflected in the Final Rule contradicts those purposes.

      97.    An agency rule is “arbitrary and capricious if the agency has relied on

factors which Congress has not intended it to consider.” Motor Vehicle Mfrs. Assn. of

U.S. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). Congress did not intend

Defendants to consider purported positive effects of what it has forbidden by

statute—the employment of illegal aliens. Instead, Congress allowed employment

authorization for certain categories of illegal aliens while they were not removable,

not to encourage the continued (or increased) presence of removable illegal aliens.

      98.    Courts must also “set aside any action premised on reasoning that fails

to account for relevant factors or evinces a clear error of judgment.” MPP, 20 F.4th at

989 (quoting Univ. of Tex. M.D. Anderson Cancer Ctr. v. HHS, 985 F.3d 472, 475 (5th

Cir. 2021)). Failing to consider the effects on American workers of employment

authorization of DACA recipients, when combined with the Affordable Care Act’s

minimum essential coverage requirement, is arbitrary and capricious. And failing to

consider the legality of such employment authorization in light of the limited nature

of Congress’s provisions for such authorizations for different categories of aliens

suffers from the same flaw.

      99.    The challenged action here fails the test of rational decisionmaking.




                                          26
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 27 of 43




   D. Plaintiffs Have Standing to Challenge the Final Rule for the Same
      Reasons They Had Standing to Challenge the DACA Memorandum.

      100.   Plaintiffs have satisfied their burden of proving standing to challenge

the Final Rule because they have suffered, and will continue to suffer, concrete

injuries that are traceable to the Final Rule, and relief against the Final Rule will

redress those injuries. See DACA, 50 F.4th at 517–20. Plaintiffs therefore have a

“personal stake” in the outcome of this litigation. See id. at 513 (citing TransUnion

LLC v. Ramirez, 141 S. Ct. 2190, 2203 (2021)).

      101.   Indeed, both this Court and the Fifth Circuit have already concluded

that Plaintiffs had standing to challenge the Executive’s unilateral actions conferring

class-based deferred action to grant lawful presence and work authorizations. And

because the Final Rule encompasses such unilateral action by the Executive and

adopts the same unlawful provisions of DACA, Plaintiffs have established standing

in this case for the same reasons they had standing to challenge the DACA

Memorandum.

          1. Plaintiffs are entitled to special solicitude in the standing
             analysis.

      102.   Because “States are not normal litigants for the purposes of invoking

federal jurisdiction,” they may be entitled to “special solicitude”—a doctrine that

allows a state to establish standing “without meeting all the normal standards for

redressability and immediacy.” Id. at 514 (citing Massachusetts v. EPA, 549 U.S. 497,

517–18, 520 (2007)). Under this special solicitude standard, a state will establish

standing “if there is some possibility that the requested relief will prompt the injury-



                                          27
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 28 of 43




causing party to reconsider the decision that allegedly harmed the litigant.” Id.

(quoting Massachusetts, 549 U.S. at 518).

       103.   Plaintiffs have satisfied the special solicitude standing because they

have shown (1) that there is “a procedural right to challenge the action in question”

and (2) that the challenged action “affect[ed] on of the State’s quasi-sovereign

interests.” Id. (citing DAPA, 809 F.3d at 151–52).

       104.   Plaintiffs in this case established a procedural right to challenge the

Final Rule under the APA because they have suffered a legal wrong and been

adversely affected or aggrieved by the promulgation of the Final Rule. See 5 U.S.C. §

702.

       105.   As in DACA, Plaintiffs here use their procedural right to “challenge[]

DHS’s affirmative decision to set guidelines for granting lawful presence to a broad

class of illegal aliens.” See DACA, 50 F.4th at 514. Further like DACA, Plaintiffs’

procedural right under the APA in this case does not evaporate because of their status

as States; instead, “Congress intended for those ‘suffering legal wrong because of

agency action’ to have judicial recourse, and the states fall well within that

definition.” Id. (quoting DAPA, 809 F.3d at 152). Plaintiffs thus satisfy the first

element of special solicitude.

       106.   Plaintiffs also satisfy the second element of special solicitude because

the Final Rule affects the quasi-sovereign interests of Plaintiffs.

       107.   The Supreme Court and the Fifth Circuit have defined a “quasi-

sovereign interest” as “a judicial construct that does not lend itself to a simple or exact



                                            28
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 29 of 43




definition.” Id. (quoting Alfred L. Snapp & Son, Inc. v. Puerto Rico ex rel. Barez, 458

U.S. 592, 601 (1982)). While “sovereign interests, proprietary interests, or private

interests pursued by the State as a nominal party” are not considered quasi-sovereign

interests, there are several interests that do satisfy that definition, including the “set

of interests that the State has in the well-being of its populace”; the State’s interest

in “the health and well-being—both physical and economic—of its residents”; and the

State’s interest in “not being discriminatorily denied its rightful status in the federal

system.” Id. (quoting Alfred L. Snapp & Son, Inc., 458 U.S. at 602, 607).

      108.   “‘One helpful indication’ of a quasi-sovereign interest is ‘whether the

injury is one that the State, if it could, would likely attempt to address through its

sovereign lawmaking powers.’” Id. at 515 (quoting Massachusetts, 549 U.S. at 519).

Indeed, “[a]n agency action may affect a quasi-sovereign interest if it is alleged to

damage certain “sovereign prerogatives [that] are now lodged in the Federal

Government.” Id. (quoting Massachusetts, 549 U.S. at 519).

      109.   For example, in DACA, the Fifth Circuit concluded that the State’s

interest in classifying aliens was a quasi-sovereign interest. Id. Specifically, the Fifth

Circuit reasoned that the State’s “interest in classifying aliens was analogous to the

interest in regulating emissions that the Supreme Court deemed a quasi-sovereign

interest in Massachusetts v. EPA.” Id. And because the States “surrendered some of

their sovereign prerogatives over immigration” upon entering the union, including

their power to “establish their own classifications of aliens,” they relied on the federal




                                           29
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 30 of 43




government to protect their interests and were analogous to the plaintiffs in

Massachusetts. Id.

      110.   Therefore, the Fifth Circuit determined that “DACA implicate[d]

Texas’s quasi-sovereign interest in classifying aliens.” Id. The Fifth Circuit also

recognized that “a State’s inability to legislate around DACA can create a quasi-

sovereign interest,” meaning that “a quasi-sovereign interest could arise based on

‘federal preemption of state law.’” Id.

      111.   Such quasi-sovereign interests are present in this case. If Plaintiffs

sought to change their benefits programs to prevent DACA recipients from being

eligible under the Final Rule, they would be threatened with federal preemption.

      112.   Indeed, the Fifth Circuit acknowledged these federal preemption

concerns in DACA. In that case, the Fifth Circuit concluded that “DACA implicates

preemption concerns” because it classifies aliens and their status, which is a power

only the federal government can exercise. See DACA, 50 F.4th at 516; see also Villas

at Parkside Partners v. City of Farmers Branch, 726 F.3d 524, 536 (5th Cir. 2013) (en

banc); Galvan v. Press, 347 U.S. 522, 531 (1954). The Fifth Circuit reasoned that “[a]n

attempt by Texas to establish an alternative classification system or work

authorizations would be preempted, despite the State’s likely interest in doing so.”

DACA, 50 F.4th at 516 (citing Arizona v. United States, 567 U.S. 387, 409 (2012)).

      113.   But these federal preemption concerns are not limited to the DACA

Memorandum. Instead, these preemption concerns apply equally to the Final Rule

because it adopts the same provisions held unlawful under DACA. Therefore,



                                          30
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 31 of 43




Plaintiffs’ quasi-sovereign interests are threatened by such preemption, representing

another injury imposed by the Final Rule’s adoption and implementation of DACA.

      114.   Thus, Plaintiffs have satisfied both elements of the test for special

solicitude in the standing analysis.

          2. Plaintiffs have parens patriae standing.

      115.   Plaintiffs also have parens patriae standing to protect the quasi-

sovereign interest in “the health and well-being” of their citizens. See Alfred L. Snapp

& Son, Inc., 458 U.S. at 607.

      116.   “Parens patriae permits a state to bring suit to protect the interests of

its citizens, even if it cannot demonstrate a direct injury to its separate interests as a

sovereign entity.” Texas, 549 F. Supp. 3d at 590–91 (citing Alfred L. Snapp & Son,

Inc., 458 U.S. at 601).

      117.   In this case, Plaintiffs seek to protect their citizens’ “economic and

commercial interests” from labor-market distortion caused by the Final Rule. Alfred

L. Snapp & Son, Inc., 458 U.S. at 609. Plaintiffs seek such protection because, if the

Final Rule were to stay in effect, it would create a distorted labor market and thereby

injure the economic well-being of Plaintiffs’ lawful workers by making it harder for

them to obtain jobs.

      118.   For instance, the Final Rule would enable DACA recipients to compete

with lawful workers for jobs in Texas by granting lawful presence status and

requiring that USCIS accept applications for work authorizations. See Texas, 549 F.

Supp. 3d at 592. The Final Rule would further harm the economic well-being of



                                           31
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 32 of 43




Texans because the Affordable Care Act would financially incentivize Texas

employers to hire a DACA recipient over a legal Texas resident. See id. But if this

Court enjoins the Final Rule, then legal residents of Texas would not have to compete

with as many eligible workers. See id.

      119.   Because the relevant provisions of the Final Rule operate in the same

way as the DACA Memorandum, Plaintiffs have parens patriae standing for the same

reasons. Plaintiffs seek the enforcement of federal law “to assure [their] residents

that they will have the full benefit of federal laws designed to address th[e] problem”

of illegal immigration and labor-market distortion. Alfred L. Snapp & Son, Inc., 458

U.S. at 609–10.

          3. Plaintiffs have standing based on direct injury.

      120.   Like the DACA Memorandum, the Final Rule imposes significant costs

on Plaintiffs. As the Supreme Court has explained, States “bear[] many of the

consequences of unlawful immigration.” Arizona v. United States, 567 U.S. 387, 397

(2012).

      121.   Under the standing analysis, only one plaintiff needs to establish

standing for an Article III case or controversy to exist. See DACA, 50 F.4th at 514

(citing Rumsfeld v. Forum for Acad. & Institutional Rights, Inc., 547 U.S. 47, 52 n.2

(2006)). And once a concrete injury is shown, the magnitude of that injury is

irrelevant to the standing inquiry. See, e.g., Massachusetts v. EPA, 549 U.S. 497, 525–

26 (2007).




                                          32
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 33 of 43




      122.   Further, Plaintiffs have incurred and will incur considerable financial

injuries on education, healthcare, and law-enforcement costs that they would not

otherwise incur but for the Final Rule. See Texas, 86 F. Supp. 3d at 628–30. These

costs arise because the Final Rule incentivizes aliens—who would otherwise be

unlawfully present and unauthorized to work without DACA—to remain in the

country, thereby causing Plaintiffs to incur those additional financial costs. Id. at

634–35.

      123.   Moreover, States are required by federal law to incur some of these costs.

For example, the Supreme Court has held that States are constitutionally obligated

to provide free education to children of unlawfully present aliens. Plyler v. Doe, 457

U.S. 202 (1982). Similarly, both Medicare and Medicaid require the provision of

emergency services as a condition of participation, regardless of lawful-presence

status. See 42 U.S.C. § 1395dd; 42 C.F.R. § 440.255.

      124.   And on top of these federally required costs, other expenditures are

required by preexisting state law. Texas law, for instance, requires local governments

to provide healthcare for the indigent. See Tex. Health & Safety Code §§ 61.001 et

seq. Texas law also requires nonprofit hospitals to provide unreimbursed care for the

indigent as a condition of maintaining their nonprofit status. See id. § 311.043.

      125.   As a result of these financial injuries inflicted by the Final Rule and

required by law, “DACA recipients overall impose a cost of more than $250,000,000

on Texas per year and another $533,000,000 annually in costs to local Texas

communities.” See DACA, 50 F.4th at 518.



                                          33
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 34 of 43




      126.   “The Texas Health and Human Services Commission estimated that the

state’s public hospital district facilities incurred approximately $596.8 million in

uncompensated care for undocumented immigrants in fiscal year 2006 and $716.8

million in fiscal year 2008.” Id. at 517.

      127.    It is further estimated that the cost of emergency Medicaid services to

illegal aliens in Texas amounted to $90 million in 2013 and $73 million in 2015. See

DACA, 50 F.4th at 517.

      128.   “Federal law requires the State to provide emergency Medicaid to

noncitizens and public education to all children, regardless of their immigration

status. Texas presented evidence that it spends millions of dollars providing these

services to unauthorized aliens each year.” Id. at 517 (footnote omitted).

      129.    “An expert for defendants estimated that DACA recipients overall

impose a cost of more than $250,000,000 on Texas per year and another $533,000,000

annually in costs to local Texas communities.” DACA, 50 F.4th at 518.

      130.   “The record does not indicate precisely what portion of all costs for

illegal aliens is spent on DACA recipients, but no one disputes that some are.” Id. at

517–18.

      131.   And while certain financial injuries may increase at the termination of

the Final Rule or be “offset” at its continuation, courts do not examine such

information in an Article III standing analysis because courts do not engage in such

“accounting exercise[s].” DACA, 50 F.4th at 518. Rather, “[o]nce injury is shown, no

attempt is made to ask whether the injury is outweighed by benefits the plaintiff has



                                            34
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 35 of 43




enjoyed from the relationship with the defendant.” Id. (quoting DAPA, 809 F.3d at

155–56)).

      132.    Thus, any hypothetical financial gains to Plaintiffs caused by the Final

Rule are irrelevant for determining whether they have standing. Accordingly, these

injuries and costs show that Plaintiffs have also established injury they suffer from

the Final Rule. DACA, 50 F.4th at 517–20.

      133.    “Texas has satisfied the second requirement for standing by showing

that its costs are ‘fairly traceable’ to DACA” because the rescission of DACA would

“cause some recipients to leave, thereby reducing the financial burdens on the State.”

Id. at 519.

      134.    Plaintiffs also satisfy the third element of standing by showing that

rescinding DACA will redress their injury. “Normally, to satisfy redressability, a

plaintiff must show that it is likely, as opposed to merely speculative, that the injury

will be redressed by a favorable decision.” DACA, 50 F.4th at 519–20 (cleaned up).

“With special solicitude, however, … [t]he standard is met if there is some possibility

that the requested relief will reduce the harm.” Id. at 520 (cleaned up).

      135.    Because “[t]hose presently subject to DACA would be removable if the

DACA program were ended, providing incentives for some if not many to leave the

United States, including Texas … and their departure would reduce the State’s

Medicaid, social services and education costs for those individuals and their families

who depart with them.” DACA, 50 F.4th at 520.




                                          35
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 36 of 43




   E. Plaintiffs’ Claims are Reviewable Because Their Interests Are Within
      the Zone of Interests Protected by Immigration Statutes and the APA.

        136.   Plaintiffs have a cause of action under the APA because their interests

are at least arguably within the zone of interests protected by immigration statutes

and the APA. See DACA, 50 F.4th at 520–21 (determining that the States’ claims

against the DACA Memorandum fall within the zone of interests).

        137.   The zone-of-interest test is satisfied if the claims are “arguably within

the zone of interests to be protected or regulated by the statute.” Id. at 521 (citing

Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak, 567 U.S. 209,

224 (2012)). The only time that review is foreclosed under this test is “when a

plaintiff’s interests are so marginally related to or inconsistent with the purposes

implicit in the statute that it cannot reasonably be assumed that Congress intended

to permit the suit.” Id. (internal quotations omitted) (quoting Patchak, 567 U.S. at

225).

        138.   In this case, the interests or purposes of the INA and the immigration

statutes are to provide “a comprehensive federal statutory scheme for regulation of

immigration and naturalization” and to “set the terms and conditions of admission to

the country and the subsequent treatment of aliens lawfully in the country.” Id.

(internal quotations omitted) (quoting Chamber of Com. v. Whiting, 563 U.S. 582, 587

(2011)).

        139.   But the Final Rule violates this intricate statutory scheme established

by Congress. Thus, Plaintiffs have an interest in seeing the INA and other statutes

enforced and upheld. See id. (first citing Arizona, 567 U.S. at 397, and then citing

                                           36
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 37 of 43




DAPA, 809 F.3d at 163). Indeed, this entire lawsuit is emphatically about the rule of

law. And in line with the rule of law, this lawsuit seeks to have the Executive Branch

fulfil its duty to take care that the law is faithfully executed—substantive

immigration law and procedural administrative law alike.

      140.   Accordingly, Plaintiffs satisfy the lenient zone-of-interest test by

establishing that their interests in upholding immigration statutes and the APA are

arguably within the zone of interests protected by those statutes. See DACA, 50 F.4th

at 520–21.

   F. The Final Rule Constitutes a Reviewable Agency Action.

      141.   The Final Rule constitutes reviewable agency action because (1) no

statute precludes its review, and (2) it is not committed to agency discretion by law.

See 5 U.S.C. § 701(a).

      142.   Generally, “[a] person suffering legal wrong because of agency action, or

adversely affected or aggrieved by agency action within the meaning of a relevant

statute, is entitled to judicial review thereof.” 5 U.S.C. § 702. There is a “strong

presumption favoring judicial review of administrative action.” Mach Mining, LLC v.

EEOC, 135 S. Ct. 1645, 1651 (2015) (quotation marks omitted). But before a state can

ever obtain review, it must first show the following: (1) no statute precludes review,

and (2) the agency action is not committed to agency discretion by law. DAPA, 809

F.3d at 163; 5 U.S.C. § 701(a).

      143.   In this case, the Final Rule satisfies the first element because the

Defendants cannot identify any “clear and convincing evidence of legislative intention



                                         37
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 38 of 43




to preclude review” of the Final Rule. Japan Whaling Ass’n v. Am. Cetacean Soc’y,

478 U.S. 221, 230 n.4 (1986).

      144.   The Fifth Circuit has held that the DACA Memorandum was a

substantive rule that was required to undergo notice-and-comment rulemaking.

DACA, 20 F.4th at 522–24. If an agency takes an action that ordinarily

requires notice and comment,       that   action     “by    definition”   constitutes

“final agency action.” Texas v. EEOC, 933 F.3d 433, 441 (5th Cir. 2019); see also Ctr.

for Auto Safety v. Nat’l Highway Traffic Safety Admin., 452 F.3d 798, 806 (D.C. Cir.

2006) (explaining that the “final agency action” requirement is satisfied where the

agency has issued a “de facto rule or binding norm that could not properly be

promulgated absent ... notice-and-comment rulemaking,” since the “two inquiries are

alternative ways of viewing” the same “question”).

      145.   The Final Rule—which adopts the same substantive provisions of the

DACA Memorandum—is therefore final agency action.

   G. Relief Against the Final Rule is not Barred by 8 U.S.C. § 1252(f)(1).

      146.   The Fifth Circuit held that judicial relief against the DACA

Memorandum was not barred by 8 U.S.C. § 1252(f)(1). DACA, 50 F.4th at 528.

      147.   Section 1252(f)(1) provides the following:

      (f) Limit on injunctive relief
      (1) In general

      Regardless of the nature of the action or claim or of the identity of the
      party or parties bringing the action, no court (other than the Supreme
      Court) shall have jurisdiction or authority to enjoin or restrain the
      operation of the provisions of [8 U.S.C. §§ 1221-32], other than with
      respect to the application of such provisions to an individual alien
      against whom proceedings under such part have been initiated.
                                          38
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 39 of 43




8 U.S.C. § 1252(f)(1).
      148.     The Fifth Circuit explained that this provision “does not apply to

vacatur.” DACA, 50 F.4th at 528. Indeed, “[b]y its plain terms, and even by its title,

[section 1252(f)(1)] is nothing more or less than a limit on injunctive relief.” Reno v.

American-Arab Anti-Discrimination Comm., 525 U.S. 471, 481 (1999).

      149.     Section 1252(f)(1) is also no bar to declaratory relief. See Alli v. Decker,

650 F.3d 1007, 1013 (3d Cir. 2011). This construction is consistent with the Supreme

Court’s most recent pronouncement on the provision. See Biden v. Texas, 142 S. Ct.

2528, 2540 (2022) (describing how, in Nielsen v. Preap, 139 S. Ct. 954 (2019), the

Court “proceeded to reach the merits of the suit, notwithstanding the District Court’s

apparent violation of section 1252(f)(1), by reasoning that ‘[w]hether the [District]

[C]ourt had jurisdiction to enter such an injunction is irrelevant because the District

Court had jurisdiction to entertain the plaintiffs’ request for declaratory relief.’”)

(alterations in original) (quoting Preap, 139 S. Ct. at 962).

      150.     Finally, the Fifth Circuit also held that Section 1252(f)(1) did not bar

even injunctive relief against implementation of the DACA Memorandum, because

that section

      prohibits injunctions only as to §§ 1221–1232. Nothing in §§ 1221–1232
      authorizes DHS to broaden the categories of aliens who are entitled to
      lawful presence in the United States, and the district court correctly so
      held. The district court’s judgment does prohibit the grant of DACA
      status to those who were not presently DACA recipients at the time of
      the district court’s judgment. However, that judgment does not require
      the removal of any DACA applicant.

DACA, 50 F.4th at 529.



                                            39
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 40 of 43




      151.   The Final Rule conflicts with several provisions of the INA—but they

are not within §§ 1221–1232 and thus fall outside the scope of Section 1252(f)(1). E.g.,

8 U.S.C. §§ 1182(a)(9)(B)(i) (unlawful presence); (d)(5)(A) (parole); 1324a

(employment).

      152.   Section 1252(f)(1) does not preclude any of the relief against the Final

Rule sought in this action.

   H. The Court Should Vacate the Final Rule, Declare it Unlawful, and
      Enjoin the Defendants Nationwide from Issuing or Renewing DACA
      Permits.

      153.   For the reasons explained above, the Court should set aside the Final

Rule and enter a declaratory judgment that it is unlawful.

      154.   This Court should also enjoin Defendants from renewing or issuing any

new DACA permits that confer lawful presence or work authorization in the future.

      155.   The injunction should also be nationwide. Both the Constitution and

Congress have directed that the Nation needs a uniform, nationwide immigration

policy. See DAPA, 809 F.3d at 187–88. Specifically, “[i]n the context of immigration

law, broad relief is appropriate to ensure uniformity and consistency in enforcement.”

DACA, 50 F.4th at 531. In contrast, a more limited remedy would “detract[] from the

integrated scheme of regulation[] created by Congress.” Id. (internal quotations

omitted). Thus, a nationwide injunction is warranted.

      156.   Finally, the Court should grant any and all other relief to which

Plaintiffs may be entitled.




                                          40
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 41 of 43




                                       CLAIMS

                          FIRST CAUSE OF ACTION
               Violation of the APA’s Substantive Requirements

      157.   The allegations in all other paragraphs in this Supplemental Complaint

and the First Amended Complaint are incorporated herein.

      158.   Defendants have acted contrary to law in violation of 5 U.S.C. § 706 by

promulgating the Final Rule.

                           SECOND CAUSE OF ACTION
                         Violation of the Take Care Clause
      159.   The allegations in all other paragraphs in this Supplemental Complaint

and the First Amended Complaint are incorporated herein.

      160.   Defendants’ actions here in creating and implementing the Final Rule

violate the President’s constitutional duty to “take Care that the Laws be faithfully

executed.” U.S. Const. art. II, § 3.

                           THIRD CAUSE OF ACTION
                     Arbitrary and Capricious Agency Action
      161.   The allegations in all other paragraphs in this Supplemental Complaint

and the First Amended Complaint are incorporated herein.

      162.   The APA prohibits agency action that is “arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).

      163.   Federal administrative agencies are required to engage in “reasoned

decision-making.” Allentown Mack Sales & Serv., Inc. v. NLRB, 522 U.S. 359, 374

(1998) (quotation marks omitted). “Not only must an agency’s decreed result be

within the scope of its lawful authority, but the process by which it reaches that result


                                           41
   Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 42 of 43




must be logical and rational.” Id. Put differently, “agency action is lawful only if it

rests ‘on a consideration of the relevant factors.’” Michigan v. EPA, 576 U.S. 743, 750

(2015) (quoting Motor Vehicle Mfrs. Assn. of United States, Inc. v. State Farm Mut.

Auto. Ins. Co., 463 U.S. 29, 43 (1983)).

      164.   Defendants’ explanations for their actions here in creating and

implementing the Final Rule violate this requirement of reasoned decisionmaking.

                              DEMAND FOR RELIEF

      Plaintiffs respectfully request that the Court issue the following relief

regarding the Final Rule:

      A.     An order permanently enjoining Defendants from issuing or renewing
             any DACA permits in the future under the Final Rule;

      B.     An order vacating the Final Rule as substantively unlawful and
             unconstitutional, and arbitrary and capricious under the APA;

      C.     A declaratory judgment that the Final Rule is substantively unlawful
             under the APA;

      D.     A declaratory judgment that the Final Rule violates the Take Care
             Clause;

      E.     A declaratory judgment that the Final Rule is arbitrary and capricious;

      F.     Any and all other relief to which Plaintiffs may be entitled.




                                           42
  Case 1:18-cv-00068 Document 623 Filed on 01/03/23 in TXSD Page 43 of 43




Date: December 16, 2022                 Respectfully submitted.

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                          CERTIFICATE OF SERVICE

      I certify that a true and accurate copy of the foregoing document was filed

and served electronically (via CM/ECF) on December 16, 2022.


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                                       43
